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ATTORNEYS for DR. BRADFORD L. FRANK, D.D.S.


                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MONTANA
                                GREAT FALLS DIVISION

DALE ROUDEBUSH, NATASHA                          )   Cause No. CV-07-68-GF-RKS
WIKSTROM, and LENNA WHITMORE,                    )
                                                 )   Hon. Keith Strong
                              Plaintiffs,        )
                                                 )
                -vs-                             )
                                                 )
DR. BRADFORD L. FRANK, D.D.S.,                   )
                                                 )
                              Defendant.         )                     NOTICE OF REMOVAL

                                            *******

       COMES NOW Dr. Bradford L. Frank, D.D.S., by and through his attorneys, pursuant to

28 U.S.C. §1332(a)(1), §1367(a), §1391(a)(2), §1441, and §1446(a) and (b), and files this Notice

of Removal of Cause No. CDV 06-1082 in the Montana Eighth Judicial District Court, Cascade

County, to the United States District Court for the District of Montana, Great Falls Division.

       The grounds for removal are:

        1.      On August 1, 2006, the Plaintiffs “commenced” their action against Dr. Bradford

L. Frank, D.D.S., by filing their Complaint and Jury Demand in Cause No. CDV 06-1082,



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entitled Dale Roudebush, Natasha Wikstrom, and Lenna Whitmore, Plaintiffs, vs. Dr. Bradford

L. Frank, D.D.S., Defendant, in the Montana Eighth Judicial District Court, Cascade County.

M.R.Civ.P. 3. Venue is proper pursuant to M.C.A. §25-2-122 and 28 U.S.C. §1391(a) in that the

Complaint alleges Dr. Frank was negligent in his care and treatment of the Plaintiffs at his offices

in Cascade County, Montana, and that Dr. Frank maliciously altered or destroyed the dental

records about the care and treatment of the Plaintiffs. Each Plaintiff prays for recovery of

special, general, and punitive damages.

        2.      On April 17, 2007, Dr Frank mailed his Answer and Demand for Jury Trial to the

Complaint and Jury Demand served upon him with the Summons issued on April 2, 2007.

        3.      Dr. Frank must satisfy pertinent 28 U.S.C. §1332(a) criteria before this case can

be removed from the State Court to this United States District Court:

               28 U.S.C. §1332. Diversity of citizenship; amount in controversy;
       costs. (a) The district courts shall have original jurisdiction of all civil actions
       where the matter in controversy exceeds the sum or value of $75,000, exclusive of
       interest and costs, and is between--
               (1) citizens of different States;

                                                 ***

        4.      “Existence of diversity jurisdiction is determined by the citizenship of the parties

at the time of the filing of the complaint, not at the time the cause of action arose or after the

action is commenced.” Mann v. City of Tucson, Department of Police, 782 F.2d 790, 794 (9th

Cir. 1986), citing, Smith v. Sperling, 354 U.S. 91, 93 n. 1, 77 S.Ct. 1112, 1113 n. 1, 1 L.Ed.2d

1205 (1957).

        5.      On information from the Plaintiffs saying they were residents of Montana and

based upon their allegation years later about being residents of Montana in paragraph 1 of their

Complaint and Jury Demand, Dr. Frank believes each Plaintiff was a citizen of the United States



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and of Montana when they commenced their action on August 1, 2006. Dr. Frank is asking each

Plaintiff to confirm the United States and the State of Montana, or a state other than the State of

Washington, as his or her Nation and State of citizenship when they commenced their action. A

motion for leave to serve discovery requests limited to jurisdictional issues will be filed if any of

the Plaintiffs won’t agree he or she was a citizen of Montana or a State other than the State of

Washington when the action was commenced.

        6.      On August 1, 2006, when the Plaintiffs commenced their action, Dr. Frank was a

citizen of the United States and was a citizen of the State of Washington, being domiciled there

with the intent for the State of Washington to be his permanent home and where he has remained

as a duly licensed and practicing dentist. See the Affidavit of Dr. Bradford L. Frank, D.D.S.,

submitted with this Notice of Removal as Exhibit 1.

        7.      Pursuant to M.C.A. §25-4-312, Dr. Frank requested and, on May 22, 2007,

received statements of claims from the Plaintiffs through which it has been learned that none of

the Plaintiffs knew the full nature and extent of the punitive damages each wants to recover,

saying that the jury will assess the amount of punitive damages to award. As for special and

general damages, however, Ms. Whitmore said in her statement of claim that she wants to

recover $21,000; Ms. Wikstrom wants $39,826; and Mr. Roudebush claims $72,027.

        8.      Aggregation is permissible in meeting the amount-in-controversy requirement in

cases where “... a single plaintiff seeks to aggregate two or more of his own claims against a

single defendant ....” Gibson v. Chrysler Corporation, 261 F.3d 927, 943 (9th Cir. 2001),

quoting, Snyder v. Harris, 394 U.S. 332, 335, 89 S.Ct. 1053, 1053, 22 L.Ed.2d 319 (1969).

        9.      “It is well established that punitive damages are a part of the amount in

controversy in a civil action.” Gibson, 261 F.3d at 945, citing, Bell v. Preferred Life Assurance



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Society, 320 U.S. 238, 240, 64 S.Ct. 5, 6, 88 L.Ed. 15 (1943). The potential range of punitive

damages should be considered for purposes of determining the amount-in-controversy even

though the Plaintiffs have not specified a numerical amount of punitive damages they want a jury

to assess. Gibson, 261 F.3d at 946, citing, Bell, 320 U.S. at 240-43, 64 S.Ct. at 6-7.

       10.     M.C.A. §27-1-220(3) prohibits punitive damage awards in excess of “... $10

million or 3% of a defendant’s net worth, whichever is less.” In his affidavit submitted herewith,

Dr. Frank has affirmed under oath that he has a net worth in excess of $100,000. Just before

referring to a 4-to-1 ratio for punitive damage awards in State Farm Mutual Automobile

Insurance Company v. Campbell, 538 U.S. 408, 425, 123 S.Ct. 1513, 1524, 155 L.Ed.2d 585

(2003), the Supreme Court said, “Our jurisprudence and the principles it has now established

demonstrate, however, that, in practice, few awards exceeding a single-digit ratio between

punitive and compensatory damages, to a significant degree, will satisfy due process.” Using a 4-

to-1 ration of punitive to compensatory damages claimed, Mr. Roudebush’s punitive claim, if

properly proved, might justify an award of more than $3,000 for him. Bell, 320 U.S. at 240-41,

64 S.Ct. 6. Therefore, should a jury believe an award of punitive damages is appropriate, even

within the restrictions of M.C.A. §27-1-220(3) and the Campbell ratio, a potential punitive

damages award of $3,000 or more might be justified for Mr. Roudebush. Id. The $75,000

amount-in-controversy threshold is passed by aggregating his potential punitive damages claim

with his anticipation of recovering $72,027 on his compensatory damages claims.

       11.     This United States District Court has 28 U.S.C. §1367(a) supplemental

jurisdiction over the claims of Ms. Wikstrom and Ms. Whitmore:

              ... where the other elements of jurisdiction are present and at least one
       named plaintiff in the action satisfies the amount-in-controversy requirement, [28
       U.S.C.] §1367 authorizes supplemental jurisdiction over the claims of other



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       plaintiffs in the same Article III case or controversy, even if those claims are for
       less than the jurisdictional amount specified in the statute setting forth the
       requirements for diversity jurisdiction.

Exxon Mobil Corporation v. Allapattah Services, Inc., 545 U.S. 546, 549, 125 S.Ct. 2611, 2615,

162 L.Ed.2d 502 (2005).

       12.     28 U.S.C. §1446(a) and (b) furnish the procedure for removal in this case:

               28 U.S.C. §1446. Procedure for removal. (a) A defendant or
       defendants desiring to remove any civil action or criminal prosecution from a
       State court shall file in the district court of the United States for the district and
       division within which such action is pending a notice of removal signed pursuant
       to Rule 11 of the Federal Rules of Civil Procedure and containing a short and
       plain statement of the grounds for removal, together with a copy of all process,
       pleadings, and orders served upon such defendant or defendants in such action.

               (b) The notice of removal of a civil action or proceeding shall be filed
       within thirty days after the receipt by the defendant, through service or otherwise,
       of a copy of the initial pleading setting forth the claim for relief upon which such
       action or proceeding is based, or within thirty days after the service of summons
       upon the defendant if such initial pleading has then been filed in court and is not
       required to be served on the defendant, whichever period is shorter.
               If the case stated by the initial pleading is not removable, a notice of
       removal may be filed within thirty days after receipt by the defendant, through
       service or otherwise, of a copy of an amended pleading, motion, order or other
       paper from which it may first be ascertained that the case is one which is or has
       become removable, except that a case may not be removed on the basis of
       jurisdiction conferred by section 1332 of this title more than 1 year after
       commencement of the action.

       13.     This action was not removable when the initial pleading was served in April 2007

due to the M.C.A. §25-4-311 prohibition against any allegations about the amount in controversy.

On May 22, 2007, Dr. Frank received the statements of claims from the Plaintiffs through which

Dr. Frank learned about the amounts in controversy for the first time. On the date below, Dr.

Frank is timely filing this Notice of Removal, in compliance with the procedural requirements of

28 U.S.C. §1446(a) and (b), within one year of the commencement of the action in State Court

and within thirty (30) days after receipt by Dr. Frank of a pleading from which he could first



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ascertain an amount-in-controversy sufficient for meeting the $75,000 threshold requirement and,

therefore, making this case one which became removable. Gibson, 261 F.3d at 931-32.

       14.     Dr. Frank has filed a copy of this Notice of Removal, with a copy of the Affidavit

of Dr. Bradford L. Frank, D.D.S., in the Montana Eighth Judicial District Court, Cascade

County, action. A Request for Transmittal of File to United States District Court has also been

filed simultaneously in the Montana Eighth Judicial District Court, Cascade County, with this

Notice of Removal.

       15.     Dr. Frank has given notice of this removal to the parties by mailing a copy of this

Notice of Removal, with a copy of the Affidavit of Dr. Bradford L. Frank, D.D.S., to the attorneys

of record for the Plaintiffs in the Montana Eighth Judicial District Court, Cascade County, action.

       16.     This Notice of Removal is signed pursuant to Fed.R.Civ.P. 11.

       WHEREFORE, Dr. Bradford L. Frank, D.D.S., gives notice that this action is removed to

the United States District Court for the District of Montana, Great Falls Division.

       DATED, June 19, 2007.

                                                     KELLER, REYNOLDS, DRAKE,
                                                      JOHNSON & GILLESPIE, P.C.


                                                     __/s/ Richard E. Gillespie__
                                                     Richard E. Gillespie
                                                     Attorney for Dr. Frank

                                CERTIFICATE OF SERVICE

       I, Richard E. Gillespie, one of the attorneys for Dr. Bradford L. Frank, D.D.S., hereby

certify that on June 19, 2007, a true and correct copy of this NOTICE OF REMOVAL, with a

copy of the AFFIDAVIT OF DR. BRADFORD L. FRANK, D.D.S. was served on these

persons by the following means:



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____1____      CM/ECF
_________      Hand Delivery
__2, 3, 4__    Mail
_________      Overnight Delivery Service
_________      Fax
_________      Email

1.     Clerk, U.S. District Court

2.     Mr. Lawrence A. Anderson, Esq.       3.   Ms. Elizabeth A. Best, Esq.
       #18 6th Street North                      425 3rd Street North
       P.O. Box 2608                             P.O. Box 2114
       Great Falls, MT 59403-2608                Great Falls, MT 59403-2114

4      Clerk of District Court
       Eighth Judicial District
       415 2nd Avenue, North
       Great Falls, MT 59401

                                                 __/s/ Richard E. Gillespie__
                                                 Richard E. Gillespie
                                                 Attorney for Dr. Frank




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